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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
       v.                                   : Case No. 21-mj-197 (GMH)
                                            :
RACHEL MARIE POWELL,                        :
    Defendant.                              :


                                        ORDER

       Upon consideration of the Government’s Appeal of Release Order and Motion for

Emergency Stay and for Review of Detention Order as to defendant Rachel Marie Powell,

       It is this _________ day of February, 2021,

       ORDERED, that the Motion for an Emergency Stay is hereby GRANTED and the

release order entered by the Western District of Pennsylvania Magistrate Judge on February 9,

2021, as to defendant Rachel Marie Powell is STAYED pending review of the detention

decision by this Court.




                                           BERYL A. HOWELL
                                           CHIEF JUDGE, UNITED STATES DISTRICT
                                           COURT FOR THE DISTRICT OF COLUMBIA




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